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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

TRUE THE VOTE, INC.,

                                             Plaintiff,

   v.                                                     Civ. No. 13-cv-00734-RBW

INTERNAL REVENUE SERVICE, et al.,
                                                          Oral Argument Scheduled
                                                          for March 2, 2017
                                          Defendants.


DECLARATION OF CLETA MITCHELL IN SUPPORT OF MOTION FOR
 DISCOVERY UNDER FEDERAL RULE OF CIVIL PROCEDURE 56(D).
I, Cleta Mitchell, declare as follow:

        1.     I am a partner in the Washington D.C. office of Foley & Lardner LLP. I am lead

counsel for Plaintiff True the Vote in connection with the above-captioned matter.

        2.     This Declaration is submitted pursuant to Federal Rule of Civil Procedure 56(d),

which provides,

               (d) When Facts Are Unavailable to the Nonmovant. If a nonmovant shows
               by affidavit or declaration that, for specified reasons, it cannot present
               facts essential to justify its opposition, the court may:

                       (1) defer considering the motion or deny it;
                       (2) allow time to obtain affidavits or declarations or to take
                       discovery; or
                       (3) issue any other appropriate order.

        3.     Although True the Vote believes the Government’s Motion for Summary

Judgment (Doc. 112) should be denied outright for the reasons set forth in True the Vote’s

Memorandum of Law In Opposition to the Government’s Motion for Summary Judgment (“TTV

Opposition Memorandum”), True the Vote submits this Declaration to demonstrate that True the

Vote cannot present all facts essential to support its opposition to the Government’s Motion for

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Summary Judgment because it has never been allowed to discover the facts underlying the issues

of this case.

        4.      True the Vote also cannot identify the specific types of evidence True the Vote

intends to present to the Court, because such evidence is in the exclusive control and/or custody

of the Government. See Am. Broad. Cos. v. United States Info. Agency, 599 F. Supp. 765, 770

(D.D.C. 1984) (defendant’s exclusive control of discoverable information weighs in favor of

granting a request for discovery under Rule 56(d)).

        5.      This litigation will enter its fourth year in May 2017, and it has now been almost

seven years since True the Vote submitted its initial application to the IRS for recognition as a

tax-exempt entity. Yet to date, True the Vote has been denied the opportunity to conduct any

discovery to support its well-pleaded allegations, which are “quite sufficient to warrant a merits

disposition based on adjudication of substantive evidence, not simply a dismissal at the pleadings

stage.” True the Vote v. IRS, 831 F.3d 551, 563 (D.C. Cir. 2016).

        6.      The following discoverable information is essential to True the Vote’s opposition

to the Government’s Motion, but is unavailable to True the Vote without discovery:

             a) Evidence regarding the processing of True the Vote’s application for tax-exempt

                status. As explained further in True the Vote’s Opposition Memorandum, the

                Government makes little to no mention of the IRS’s treatment of True the Vote,

                specifically. Only with this information can the Court resolve whether such

                conduct is likely to recur or has permanently ceased. Accordingly, True the Vote

                is entitled to discovery of the following documents and electronically stored

                information, including deposition testimony, related to the Government’s




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      processing of True the Vote’s application, including documents and all supporting

      and related information, to wit:

         i.   the initial selection and segregation of True the Vote’s application for

              further review and development under the IRS Targeting Scheme;

        ii.   the subjecting of True the Vote’s application to the “multi-tier review

              process” developed by the IRS;

       iii.   communications between and among IRS employees assigned to True the

              Vote’s application, in Cincinnati, Washington D.C. and elsewhere;

       iv.    communications between and among IRS employees and any individual or

              entity outside the IRS regarding True the Vote’s application;

        v.    the names and titles of all individuals who took any part in the discussions

              about and/or the processing of True the Vote’s application;

       vi.    the creation and propounding of all “development” letters sent to True the

              Vote following the submission of its application for exempt status in 2010;

      vii.    the creation of the intrusive, burdensome and unnecessary requests for

              information propounded to True the Vote and other exempt organizations

              in 2012; and

      viii.   any other decisions, discussions, and communications regarding the

              handling or treatment of True the Vote’s application for exempt status

              from 2010 through the present date.

   b) Evidence concerning the retention and disclosure True the Vote’s application

      material. True the Vote alleged that the IRS “made multiple, unnecessary,

      burdensome, and voluminous requests for information and documentation wholly



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      unnecessary to the determination of True the Vote’s tax-exempt status.” (Doc. 14

      ¶ 128.) The IRS remains in possession of this information and is required by law

      to publicly disclose it upon request. 26 U.S.C. § 6104(a)(1)(A). The IRS’s

      possession of this material is a direct consequence of the IRS Targeting Scheme

      and an “effect” that continues to persist. Yet the Government does not address this

      effect in its Motion.

              True the Vote is entitled to return of all information demanded in

      connection with the IRS Targeting Scheme. The scope of that information cannot

      be accurately ascertained because such information is in the possession and

      control of the IRS. Accordingly, True the Vote is entitled to discovery of the

      following documents and electronically stored information, including deposition

      testimony, concerning:

         i.   the creation and development of all “development” letters propounded on

              True the Vote and other organizations targeted by the IRS. (See e.g., Docs.

              14-4 – 14-5);

        ii.   communications, both within and outside the IRS, concerning all

              “development” letters propounded on True the Vote (id.); and,

       iii.   requests for and disclosure of True the Vote’s application material,

              including the identity all individuals who have made such requests.

   c) Evidence concerning the dissemination and sharing of True the Vote’s application

      material both within and outside the IRS. Evidence available to True the Vote

      indicates that True the Vote’s application material was shared with government

      officials both within and outside the IRS for reasons not related to tax



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      administration. For example, in January 2013, the Committee on Oversight and

      Government Reform discovered that

             Democratic staff of the House Oversight Committee asked the IRS
             for material relating to the tax-exempt application of True the
             Vote, a Tea Party-related organization. Holly Paz, director of
             Exempt Organizations Rulings and Agreements, authorized the
             IRS to release information to the Democratic staff, but it is unclear
             what information the IRS eventually provided.

      Staff Report, House of Representatives Committee on Oversight and Government

      Reform, “The Internal Revenue Service’s Targeting of Conservative Tax- Exempt

      Applicants: Report of Findings for the 113th Congress” at 159, 113th Cong. (Dec.

      23, 2014) (Exhibit D to TTV Opposition Memorandum, hereafter “Oversight

      Findings”). The Government does not address the dissemination of True the

      Vote’s application material nor confirm that any information shared with

      Democratic staff was returned, destroyed and not disseminated further.

             The conduct of the IRS and other federal agencies strongly suggests that

      True the Vote’s application material was shared with other government officials

      both within and outside the IRS. In 2010, Catherine Engelbrecht founded True the

      Vote along with another non-profit group, King Street Patriots, and sought a tax-

      exemption from the IRS for both organizations. (Declaration of Catherine

      Engelbrecht ¶¶ 1-4.) Shortly thereafter, Ms. Engelbrecht, her non-profit

      organizations, and her family business were subjected to repeated visits, audits,

      and investigations by three different federal agencies, as well as the IRS, which,

      for the first time ever, audited Ms. Engelbrecht, her husband and her family

      business. (Id. ¶¶ 6-13.) Ms. Engelbrecht and True the Vote attempted to utilize the

      Freedom of Information Act to ascertain the circumstances surrounding the

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      government’s actions. Yet the recipient agencies of those requests withheld

      documents that would allow for such an understanding. (Id. ¶¶ 21-35.)

      Accordingly, True the Vote is entitled to discovery of the following documents

      and electronically stored information, including deposition testimony, concerning:

         i.   the request for and release of True the Vote’s application material and/or

              tax return information to Democratic staff of the House Oversight

              Committee;

        ii.   the names and titles of all Democratic staff members to whom True the

              Vote application material and/or tax return information was disseminated;

       iii.   the dissemination of True the Vote’s application material and/or tax return

              information to any other private individuals or government actors,

              including, but not limited to the IRS, Federal Bureau of Investigation,

              Occupational Safety and Health Administration, and the Bureau of

              Alcohol, Tobacco, and Firearms.

       iv.    the visits, audits, and investigations of Catherine Engelbrecht, her

              husband, and her business interests by government agencies, as more

              thoroughly described in the Declaration of Catherine Engelbrecht filed

              contemporaneously with this declaration.

   d) Evidence concerning the use of viewpoint-based criteria in any aspect of tax

      administration. As described by this Court, the Government must present facts

      demonstrating why True the Vote “will not experience any negative consequences

      resulting from the alleged discriminatory targeting scheme employed by the

      defendants throughout its tenure as a tax-exempt entity.” (Doc. 109.) The Court of



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      Appeals recognized this principle in its decision, stating that the Government

      must demonstrate two things: “(1) there is no reasonable expectation that the

      conduct will recur and (2) interim relief or events have completely and

      irrevocably eradicated the effects of the alleged violation.” True the Vote, Inc. v.

      IRS, 831 F.3d at 561 (internal quotations omitted). Accordingly, evidence

      concerning the presence and/or use of discriminatory criteria employed by the

      IRS to monitor and oversee True the Vote as a tax exempt organization are

      essential to support True the Vote’s opposition to the Government’s motion.

      However, such evidence is unavailable to True the Vote because it is in the

      possession and control of the IRS. Accordingly, True the Vote is entitled to

      discovery of the following documents and electronically stored information,

      including deposition testimony, concerning:

         i.   the failure of the IRS to include True the Vote as a recognized public

              charity from and after the granting of True the Vote’s exempt status in

              response to this litigation.

       ii.    all discussions, communications, decisions regarding the segregation of

              True the Vote from other recognized exempt organizations even after

              receiving its letter of recognition as a tax-exempt entity; and

       iii.   all communications and decisions regarding True the Vote following the

              granting of its exempt status.

       iv.    the use of BOLO listings and any other method employed by the IRS to

              target organizations based on their names, viewpoints, policy positions,

              politics, officers, directors, volunteers, and/or associations;



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        v.   the suspension and alleged cessation of BOLO listings used inside and

             outside the tax-exempt application process;

       vi.   the safeguards established by the IRS to govern the ongoing interactions

             between True the Vote and the IRS for the duration of True the Vote’s

             existence and to ensure there is no viewpoint discrimination in the tax

             administration obligations of the IRS with respect to True the Vote; and,

      vii.   the findings and conclusions of the report issued by the Government

             Accountability Office, which found that (1) “control deficiencies . . .

             increase the risk that EO could select organizations for examination in an

             unfair manner—for example, based on an organization’s religious,

             educational, political, or other views.” Government Accountability Office,

             Report to Congressional Requesters, “IRS Examination Selection: Internal

             Controls for Exempt Organization Selection Should Be Strengthened”

             (July 2015) (Exhibit B to TTV Opposition Memorandum).

   e) Evidence concerning the political interests and biases of IRS employees and

      officials. The Government adopts TIGTA’s finding that the cause of the IRS

      Targeting Scheme was nothing more than “ineffective management.” (See Doc.

      112-1 at Highlights.) True the Vote alleges that the IRS Targeting Scheme was

      the result of viewpoint-based discrimination and political bias harbored by

      officials within the Obama Administration. (See Doc. 14 ¶ 150-152.)There are,

      therefore, questions of fact regarding the underlying issues, factors, and causes

      that resulted in the IRS Targeting Scheme, to which True the Vote must be privy




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      in order to ascertain to what extent the issues, factors and causes have been

      permanently eradicated.

             There is more than sufficient evidence to presently support True the

      Vote’s view that it was politics, not ineffective management, that caused the IRS

      to target groups like True the Vote. In June 2014, the U.S. House of

      Representatives Committee on Oversight and Government Reform released a

      report entitled “How Politics Led the IRS to Target Conservative Tax-Exempt

      Applicants for their Political Beliefs,” which, as the name suggests, concludes that

      groups like True the Vote were targeted because of their political beliefs, actual or

      perceived. Staff Report, House of Representatives Committee on Oversight and

      Government Reform, “How Politics Led the IRS to Target Conservative Tax-

      Exempt Applicants for their Political Beliefs,” 113th Cong. (June 16, 2014)

      (Exhibit C to TTV Opposition Memorandum).

             Later in 2014, the House Oversight Committee released a second report

      entitled “The Internal Revenue Service’s Targeting of Conservative Tax- Exempt

      Applicants: Report of Findings for the 113th Congress.” Staff Report, House of

      Representatives Committee on Oversight and Government Reform, “The Internal

      Revenue Service’s Targeting of Conservative Tax- Exempt Applicants: Report of

      Findings for the 113th Congress,” 113th Cong. (Dec. 23, 2014). The Report

      concluded that there developed a “culture of bias against conservative

      organizations among certain IRS employees,” id. at 209-210, which ultimately

      manifested itself as the IRS Targeting Scheme. The Report contains an entire




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      section on the discriminatory treatment of True the Vote by the IRS and a high-

      ranking member of the Democratic Party.

              The Government concedes that the personal behavior of the individuals

      involved in the IRS Targeting Scheme is relevant to this Court’s disposition:

      “Within days of the issuance of the TIGTA Report, senior leadership and

      managers that permitted the activity were replaced and new leadership

      immediately began implementing changes. In light of evidence strongly indicating

      that political bias played a major role in the targeting of True the Vote and other

      groups, True the Vote is entitled to discover the following information, including

      all documents and electronically stored information, and deposition testimony

      concerning:

         i.   a list of all individuals identified by the IRS to have “permitted the

              activity” about which True the Vote complains;

        ii.   the current employment status of those individuals, including their present

              titles, job descriptions and responsibilities;

       iii.   the replacement of those individuals, including the reasons for their

              replacement; and

       iv.    a list of all individuals hired by the IRS to replace those individuals in the

              identified positions

   f) Evidence concerning the training of IRS employees and evidence concerning the

      effectiveness of the training. The Government asserts that it is undisputed that the

      IRS has implemented TIGTA’s recommendations in such a way that it is

      “absolutely clear the allegedly wrongful behavior could not reasonably be



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              expected to recur.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc.,

              528 U.S. 167, 190 (2000), and that all effects of the Targeting Scheme have been

              permanently eradicated. However, the TIGTA report on which the Government

              relies for this assertion reveals that over 20% of EO employees had not completed

              the training necessary to implement TIGTA’s recommendations, leaving those

              employees without the “knowledge needed to effectively and efficiently carry out

              their responsibilities.”      (Doc. 112-1 at 13-14.) The consequences of missed

              training were evident. TIGTA discovered that as many as 6.15 percent of

              employees “do not know what information to consider when determining if there

              was potential political campaign intervention” problems with a particular

              organization.” (Id. at 25.)

                     Moreover, even for those employees who had completed the necessary

              training, “the IRS did not complete the process designed to evaluate the

              effectiveness of the training.” (Doc. 112-1 at 15.) Thus, even assuming, arguendo,

              that a cause of the IRS Targeting Scheme was “ineffective management,” 1 (Doc.

              14-6 at 2), the 2015 Report reveals that such ineffectiveness has not been

              eradicated, but continues to persist.

                     Facts concerning training and managerial oversight designed to remedy

              the alleged harm are directly relevant to the ongoing effects of the IRS Targeting

              Scheme. Accordingly, True the Vote is entitled to discover the all documents and

              electronically stored information, and deposition testimony, concerning:



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 True the Vote denies that “ineffective management” was the “sole cause” of the IRS Targeting
Scheme.


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         i.   the programs, materials, and content of the training identified in the 2015

              TIGTA Report;

        ii.   the identity of the presenters and trainers involved in the training

              identified in the 2015 TIGTA Report;

       iii.   evaluation results of the training identified in the 2015 TIGTA Report and

              background of the evaluators;

       iv.    any training designed to remedy the conduct of which True the Vote

              complains conducted outside the tax-exempt application process and the

              application of such training to other tax administration obligations and

              procedures impacting True the Vote during the life of its existence and

              interactions with the IRS;

   g) Evidence concerning ongoing oversight of True the Vote and any other effects of

      the alleged violations. The Government was ordered by the D.C. Circuit and this

      Court to address all “effects” of the IRS Targeting Scheme throughout True the

      Vote’s tenure as a tax-exempt entity. Yet the Government provides only five

      paragraphs of “evidence” with respect to its ongoing oversight of True the Vote.

      Former EO Director Tamera L. Ripperda—who left the position only days after

      submitting her affidavit filed by the Government and who further was not even in

      that position during the period during which True the Vote was subjected to the

      IRS Targeting Scheme with respect to its application for exempt status—states as

      an “undisputed factual matter” that “True the Vote is not more or less likely to be

      audited based on any additional scrutiny using inappropriate criteria that may

      have taken place during its application process because actions taken during the



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      application process are not considered by the automated case selection models.”

      (Doc. 112-3 ¶ 28.)

             As her statement plainly indicates, Ms. Ripperda’s position is limited to

      those audit referrals made by the IRS’s “automated case selection models,” and

      not to other audit referral sources. Ms. Ripperda acknowledges that audit referrals

      for an organization such as True the Vote also “can come from individuals or

      groups outside the IRS or from other divisions within the IRS.” (Doc. 112-3 ¶ 26.)

      Yet Ms. Ripperda gives no assurances about—and in fact does not even discuss—

      these other avenues through which True the Vote could face unfair treatment in

      the audit selection process.

             The evidence currently available to True the Vote regarding the audit

      selection process indicates that “control deficiencies” within the IRS that

      “increase the risk that EO could select organizations for examination in an unfair

      manner—for example, based on an organization’s religious, educational, political,

      or other views.” Government Accountability Office, Report to Congressional

      Requesters, IRS Examination Selection: Internal Controls for Exempt

      Organization Selection Should Be Strengthened, Highlights, July 2015 (Exhibit B

      to TTV Opposition Memorandum).

             The Government’s limited assertions regarding oversight and monitoring

      of True the Vote and the ongoing effects of the IRS Targeting Scheme are

      questions of fact. True the Vote cannot sufficiently oppose the Government’s

      facts without the opportunity to conduct discovery with respect to evidence that is

      in the exclusive possession and control of the IRS. Accordingly, True the Vote is



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      entitled to discover the all documents and electronically stored information, and

      deposition testimony, concerning:

             i. communications within and outside the IRS regarding referral of True

                 the Vote for examination, audit, or investigation;

             ii. IRS audit selection and referral procedures and programs and any

                 other post-determination compliance programs, including training

                 designed to eliminate the use of viewpoint-based discrimination with

                 such programs; and

             iii. reports and training of the IRS’s Political Activity Referral Committee

                 (Doc. 112-3 p. 24).

             iv. IRS Review of Operations (“ROO”) which, according to Government

                 witness Tamera L. Ripperda, are “non-contact compliance reviews of

                 tax exempt organizations.” (Doc. 112-3, ¶ 18.)

   h) Deposition of Government witness Tamera L. Ripperda. The Government’s sole

      witness Tamera L Ripperda states that she is the current director of the IRS’s

      Exempt Organization Division. (Doc. 112-3 ¶ 2.) However, Ms. Ripperda

      departed that position just three days after the Government filed her testimony.

      See Bloomberg BNA, Daily Tax Report, “IRS Exempt Organizations Director

      Switching Roles Next Month” (Oct. 26, 2016), https://www.morganlewis.com/

      ~/media/files/news/2016/bloombergbna_irs-exempt-organizations-director-

      switching-roles-next-month_26oct16.ashx?la=en (last accessed Jan. 19, 2017).

      Ms. Ripperda’s departure means she is no longer in a position to oversee the

      alleged implementation of TIGTA’s recommendations. Moreover, Ms. Ripperda



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      was not in the position of EO Director—or even in a position within the EO

      unit—until years after the conduct alleged in the Amended Complaint occurred.

      (Doc. 112-3 ¶ 2 (“I have held this position since January 2014.”). This raises

      serious questions regarding whether Ms. Ripperda has the requisite personal

      knowledge necessary to testify as to the IRS’s conduct, the effects of that conduct,

      and the alleged eradication of those effects. See Fed. R. Evid. 602 (“A witness

      may testify to a matter only if evidence is introduced sufficient to support a

      finding that the witness has personal knowledge of the matter.”) Nevertheless,

      True the Vote is entitled to depose Tamera L. Ripperda regarding the following

      non-exhaustive topics:

            i.   Ms. Ripperda’s personal knowledge of the facts about which she

                 testifies;

           ii.   ROO compliance reviews of True the Vote (Doc. 112-3 ¶ 18);

          iii.   implementation of actions recommended in the 2013 TIGTA Report,

                 including the training designed and developed to implement those

                 recommendations (Doc. 112-3 ¶ 21);

           iv.   implementation of actions recommended in the 2013 Senate Finance

                 Committee Report, including the training designed and developed to

                 implement those recommendations (Doc. 112-3 ¶¶ 23-25);

           v.    potential for future audits of True the Vote (Doc. 112-3 ¶¶ 26-30); and

           vi.   the status and nature of actions taken to implement recommendations

                 made by other entities, including the Government Accountability




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                          Office, the Senate Finance Committee, and the House Oversight

                          Committee.

   7. The foregoing evidence is discoverable pursuant to Federal Rule of Civil Procedure

       26(b)(1) because it is “relevant” to True the Vote’s claims that the IRS engaged in

       viewpoint discrimination in violation of True the Vote’s First Amendment rights and

       engaged in violations of the Administrative Procedure Act.

   8. The foregoing evidence is essential to demonstrate the existence of disputes concerning

       facts material to the disposition of this case, specifically, whether the Government has

       carried its “heavy” burden of establishing mootness as a result of its voluntary cessation.

   9. True the Vote is presently unable to present the foregoing evidence because any such

       evidence is solely and exclusively in the possession and/or control of the Government.

   10. Accordingly, this Court should grant True the Vote relief under Federal Rule of Civil

       Procedure 56(d). The Government’s motion for summary judgment should be denied, or

       alternatively deferred, to allow time to take discovery regarding the foregoing evidence.

   11. Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

       and correct to the best of my knowledge and belief.



Executed on January 19, 2017,


                                                            /s/
                                                     Cleta Mitchell
                                                     Counsel for Plaintiff




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